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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )                     8:09CR272
                         Plaintiff,                   )
                                                      )
        vs.                                           )                      ORDER
                                                      )
SHANNON B. JACKSON and                                )
MICHAEL D. MC CROY,                                   )
                                                      )
                         Defendants.                  )



        This matter is before the court on the motion to continue by defendant Michael D. McCroy (McCroy)

(Filing No. 135). McCroy seeks a continuance of the trial scheduled for May 3, 2010, on Counts I, II and III

of the Indictment. McCroy has submitted an affidavit in accordance with paragraph 9 of the progression

order whereby McCroy consents to the motion and acknowledges he understands the additional time may

be excludable time for the purposes of the Speedy Trial Act (Filing No. 136). Kelsey's counsel represents that

co-defendant Jackson's counsel has no objection to the motion. Upon consideration, the motion will be granted.



        IT IS ORDERED:

        1.      McCroy's motion to continue trial (Filing No. 135) is granted.

        2.      Trial of Counts I, II and III of the Indictment is re-scheduled for June 1, 2010, before Chief

Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion and

outweigh the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between April 12, 2010 and June 1, 2010, shall be deemed

excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason

that defendant's counsel requires additional time to adequately prepare the case. The failure to grant

additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        3.      Trial of Counts IV and V of the Indictment against Shannon B. Jackson remain scheduled

for May 3, 2010.

        DATED this 12th day of April, 2010.

                                                           BY THE COURT:


                                                           s/Thomas D. Thalken
                                                           United States Magistrate Judge
